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UN|TED STATES DlSTRiCT COURT FH_E-D 115 7 ;;m'

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UN|TED STATES OF AN|ER|CA

  

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-v- 2:04CR20218-01-D W-U ‘-'3?'" ‘Vi"~w »
MICHAEL 0"NEAL TATE
Nlichae| Scho|l CJA
Defense Attorney
8 South Third, 4“' Floor
Memphis, TN 38103

 

 

JUDGIV|ENT lN A CR|IVI|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the indictment on October 21, 2004.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section Nature of Offense Offense Number(s)
Conc|uded
18 U.S.C. §§ 666 & 2 Theft from Programs Fieceiving Federa| 05/31/2000 2

Funds

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the Nlandatory
Victims Restitution Act of 1996

Count(s) 1 is dismissed on the motion of the United States.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 09/06/ 1980 April 26, 2005
Deft’s U.S. lVlarshal No.: 08023-043

Defendant’s Mai|ing Address:
1910 8“’ Street
Pascagoula, lVlS 39567

EFiN|CE B. DONALD
UN|TED STATES D|STR|CT JUDGE

Apri| g z ,2005

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Case No: 2:04CR20218-01-D Defendant Name: Nlichael O’Neal TATE Page 2 of 5

PROBAT|ON

The defendant is hereby placed on probation for a term of 1 Year.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, or destructive device. The
defendant shall also comply with the standard conditions that have been adopted by this
court (set forth below). lf this judgment imposes a fine or a restitution obligation, it shall be
a condition of probation that the defendant pay any such file or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

21 The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distributel or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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11.

12.

13.

The defendant shaft not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

lf this judgment imposes a fine or a restitution obiigation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal lVlonetary Penalties sheet of this judgment

ADD|T|ONAL COND|TIONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall participate in substance abuse testing and treatment as deemed
appropriate by the Probation Officer;

2. The defendant shall provide full financial disclosure as requested by the Probation
Officer;

3. The defendant shall not acquire any newfinancial obligations in excess of $500.00

without the permission of the Probation Officer;

Third party risk notification;

The defendant shall cooperate in DNA collection as directed by the Probation
Officer.

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CR|N||NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance

with the schedule of payments set forth in the Schedule of Payments. The defendant shall

pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §

3612(f). All of the payment options in the Schedule of Payments may be subject to

penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Total Fine Tota| Restitution

$100.00 $4,042.50

The Special Assessment shall be due immediately

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F|NE
No fine imposed

RESTITUT|ON

Fiestitution in the amount of $4,042.50 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority
Total Amount of Order
Name of pal[ee Amount Restitution Ordered or
of Loss Percentage
w
St. Pau| Fire insurance $4,042.50 $4,042.50
Company,

Attn: Fiestitution Ciaim
#CK04103424-09T004
P. O. Box 105801
Atlanta, GA 30348

if the defendant makes a partial payment each payee shall receive an approximately
proportional payment unless specified othenNise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Fteasons page.

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SCHEDULE OF PAYIV|ENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as foilows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments in the amount of
10% of gross income. The Court waived interest requirement The defendant shall
notify the Court and th United States Attorney of any material change in economic
circumstances that might affect the defendants ability to pay restitution.

Unless the court has expressly ordered othenrvise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment Aii criminal monetary penalties, except those payments made through the
Federai Bureau of Prisons’ inmate Financial Hesponsibility Program, are made to the clerk of the
court unless othenrvise directed by the court the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 67 in
case 2:04-CR-202] 8 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

Michaei Edvvin Schoil

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Fioor

i\/lemphis7 TN 38103--238

Dan Nevvsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

